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                            IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF ALASKA

MESA ENVIRONMENTAL SERVICES,                        )
INC.,                                               )
                                                    )
         Plaintiff,                                 )
                                                    )
vs.                                                 )
                                                    )
VITUS ENERGY LLC, in personam,                      )    Case No. 3:17-cv-00113-SLG
                                                    )
         Defendant.                                 )


        STIPULATION FOR DISBURSEMENT OF BOND AMOUNTS AND FOR
                       DISMISSAL WITH PREJUDICE

         Plaintiff Mesa Environmental Services, Inc. (“Mesa”) and Defendant Vitus Energy

LLC (“Vitus”) hereby stipulate and agree as follows:

         1. The parties have entered into a settlement of the above-captioned action.

         2. Vitus previously posted a cash bond in this matter (the “Bond”). The amount

being held in the registry of the Court in connection with the Bond (including earnings)

was $350,350.86 as of July 20, 2017.

         3. Pursuant to the parties’ stipulation:

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                   (a)      $298,519.52 of the amount being held in the registry of the Court in

connection with the Bond shall be disbursed to Mesa;

                   (b)      all remaining Bond amounts in the registry of the Court shall be disbursed

to Vitus;

                   (c)      After disbursement of the $298,519.52 as provided in paragraph 3(a) and

the remaining sum in paragraph 3(b) above, all claims that were or could have been brought in

the above-captioned action by either Mesa or Vitus shall be dismissed with prejudice, each party

to bear its own attorney fees and costs.

         DATED this 2nd day of August, 2017.

                                                  LAW OFFICE OF STEVEN J. SHAMBUREK
                                                  Attorney for Plaintiff Mesa Environmental
                                                  Services, Inc.


                                                  By: /Steven J. Shamburek (by consent)
                                                  Steven J. Shamburek, ABA No. 8606063

         DATED this 2nd day of August, 2017.

                                                  DAVIS WRIGHT TREMAINE LLP
                                                  Counsel for Defendant Vitus Energy LLC


                                                  By: /Jon S. Dawson
                                                  Jon S. Dawson, ABA No. 8406022

Certificate of Service

On the 2nd day of August, 2017, a true and correct copy of the foregoing STIPULATION
FOR DISBURSEMENT OF BOND AMOUNTS AND FOR DISMISSAL WITH
PREJUDICE was sent by the Court’s ECF system, to the following parties:

Law Office of Steven J. Shamburek
Jon S. Dawson

 /s/ Jon S. Dawson


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